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 8
                                IN THE UNITED STATES DISTRICT COURT
 9                                  FOR THE DISTRICT OF ARIZONA
10
     United States of America,                     NO. CR-18-00422-PHX-SMB
11

12                            Plaintiff,           [PROPOSED] ORDER
     vs.
13
     Michael Lacey, et al.,
14

15                       Defendants.

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20
             Upon Motion of the Defendant, with good cause appearing and with no objection
21
     from the Government,
22
             IT IS ORDERED granting Attorney Paul J. Cambria, Jr., leave to appear by
23
     [phone/videoconferencing] at the November 2, 2022 Status Conference in this matter.
24
             IT IS FURTHER ORDERED that Attorney Paul J. Cambria, Jr. shall [call 602-
25
     ______/log in to the Court’s videoconferencing system at www._______________] at 9:55
26
     A.M. November 2, 2022.
27

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     Case 2:18-cr-00422-DJH Document 1481-1 Filed 10/21/22 Page 2 of 2




 1   SO ORDERED this _______ day of ___________, 2021.
 2                                       ___________________________
 3                                       United States District Judge
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